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Case 5:16-cv-00357-WFJ-PRL Document11_ Filed 07/11/16 Page 2 of 2 PagelD 87

UNNOTARIZED. OATH

Under penalties of perjury, I declare that I have read the foregoing motion

and the facts stated in it are true.

Executed this "14h _dayof__\uly _, 20_| lo

/s/ RowelaA Cho us tien

Amold Os Williams
FQNGEc tH BW ASV anng
Florida State Orison

FO. Ax. 406
Rowkoed. Florida. 32663

